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Counsel for Chapter 11 Trustee
                        UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

IN RE:                            §
                                  §
RINCON ISLAND LIMITED PARTNERSHIP §                         CASE NO.16-33174
                                  §
                                  §
DEBTOR.                           §                         CHAPTER 11


          AMENDED MOTION TO CONVERT CHAPTER 11 CASE TO CHAPTER 7

TO THE HONORABLE JUDGE OF SAID COURT:

         NOW COMES Jason R. Searcy, Trustee, (the “Trustee” and/or “Movant”), in the above-

styled and numbered cause, and files this his Amended Motion to Convert Chapter 11 Case to

Chapter 7 (the “Motion”), and in support thereof, respectfully represents as follows:


         NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN
         RESPONSE IS FILED WITH THE CLERK OF THE UNITED STATES
         BANKRUPTCY COURT AT (ADDRESS OF CLERK'S OFFICE) BEFORE
         CLOSE OF BUSINESS ON JANUARY 4, 2017, WHICH IS AT LEAST
         21 DAYS FROM THE DATE OF SERVICE HEREOF.

         ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK,
         AND A COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING
         PARTY PRIOR TO THE DATE AND TIME SET FORTH HEREIN. IF A
         RESPONSE IS FILED A HEARING MAY BE HELD WITH NOTICE ONLY TO
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          THE OBJECTING PARTY.

          IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED,
          THE RELIEF REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND
          THE COURT MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT
          OR THE NOTICED ACTION MAY BE TAKEN.

                                                                 I.

          1.1.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. § 1334.

Consideration of this Motion is a core proceeding pursuant to 28 U.S.C. § 157(b). The relief

requested is sought pursuant to 11 U.S.C. § 1112(a) and Fed. and Fed. R. Bankr. P. 1017.

          1.2. On August 8, 2016 (the “Petition Date”), the Debtor filed its voluntary petitions for

relief under Chapter 11 of the United States Bankruptcy Code, thereby initiating the Bankruptcy

Case and creating the respective bankruptcy estate (the “Estate”).

          1.3. On June 29, 1017, Jason R. Searcy was appointed to serve as the Chapter 11 Trustee.

 Jason R. Searcy is the duly appointed and serving Chapter 11 Bankruptcy Trustee for the above-

named Debtors.

                                                                 II.

          2.1.       Trustee believes that there is no viable avenue for reorganization by the Debtor’s

estate. The oil and gas leases constituting the primary assets of the Debtor have been conveyed

with approval of the court to the California State Lands Commission. A motion to abandon the

remaining real property interests and interests in equipment has been filed. Cause therefore

exists for conversion of this case, and Trustee contends that conversion is in the best interests of

creditors of the estates.

          2.2.         Trustee therefore requests that each of this case be converted to a case under

Chapter 7 in accordance with 11 U.S.C. § 1112(a).

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          WHEREFORE PREMISES CONSIDERED, Trustee prays for an Order of this Court

converting this case into a case under Chapter 7 of the bankruptcy code, and for such other and

further relief to which he may be entitled.

          SIGNED December 13, 2017.


                                                                       Respectfully submitted,
                                                                       SEARCY & SEARCY, P.C.

                                                                        /S/ Jason R. Searcy
                                                                       JASON R. SEARCY
                                                                       SBN 17953500
                                                                       JOSHUA P. SEARCY
                                                                       SBN 24053468
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                                                                       Counsel for Ch. 11 Trustee

                                            CERTIFICATE OF SERVICE

       I, the undersigned, certify that a true and correct copy of the above and foregoing was
served by electronic notice on all persons requesting notice under the ECF filing system for the
Northern District of Texas, and by U. S. Mail, postage paid, to each interested party on the
attached service list by the service agent, Certificateofservice.com, on or before the 14th day of
December 2017.

                                                                       /S/ Jason R. Searcy
                                                                       JASON R. SEARCY




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